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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Criminal Case No. 16-cr-00199-CMA

UNITED STATES OF AMERICA,

         Plaintiff,

    v.

JOSE GERARDO VILLEGAS-TARIN,

         Defendant.


                                MOTION FOR PRODUCTION

          COMES NOW the defendant, Jose Gerardo Villegas-Tarin, by and through his

 undersigned counsel, and, pursuant to FED.R.CRIM.P. 16 and the Local Rules of

 Practice of this Court, respectfully requests that the Court enter an order calling for the

 government’s production of the materials identified in paragraphs 1 - 3, hereinbelow:

         1.      All agents’ notes and drafts of memoranda, including in particular those

from which Memoranda of Interviews were generated, and those relative to third-party

contacts by the agents. Please see Internal Revenue Manual, I.R.M. 9.4.5.7.4.3 and

9.4.5.9.3; viz., in pertinent part:

                      Handwritten notes made by a special agent during an
                      interview and used as the basis for a more detailed
                      memorandum or report may be subject to inspection by
                      a court and should be preserved and retained in the
                      investigative file. (I.R.M. 9.4.5.7.4.3)

                                       *      *       *




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                  The special agent will preserve notes made substantially
                  contemporaneous to interviews of the subject or
                  prospective witnesses and which are used in the
                  preparation of a memorandum of interview, affidavit, or
                  other similar reports. The original notes will be retained
                  in the investigative file. The notes should contain the
                  date of the interview and the initials of their maker in the
                  right corner. (I.R.M. 9.4.5.9.3)

       2.     Relative to “tax loss” and possible court-ordered “restitution”, all

documentation evidencing the United States’ efforts to assess and collect offsetting

amounts from those taxpayers whose respective individual (Forms 1040) tax liabilities

(Forms 4549; Income Tax Examination Changes) are believed by the United States to

underly a “tax loss” of $185,128. In that connection, the Court’s attention is respectfully

referred to United States v. Horn, 13-CR-00519 (D.Md. 2015); United States v. Smith,

398 F.App’x 942 (4th Cir. 2010); United States v. Cadet, 664 F.3d 27 (2nd Cir. 2009);

United States v. Varrone, 554 F.3d 327 (2nd Cir. 2009); United States v. Al-Suqi, 2013

WL 5755613 (ED.VA 2013)); and,

       3.     Evidence of compensation (fees, salary, and other payments) received by

the defendant from, and/or in conjunction with, The Maningo Group Intl, LLC, a/k/a The

Mile High Group, Inc., and/or its owner(s) (including Rom Maningo), specifically incident

to the services performed giving rise to the above-referenced underlying “tax loss”.

       Earlier today, counsel attempted (via, both, voice-mail and e-mail, attaching a

draft of the motion) to reach Assistant United States Attorney, J. Chris Larson, to

ascertain his position with respect to the motion. Just prior to the close of business, Mr.

Larson contacted the undersigned, via e-mail, noting his objection to it.




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       WHEREFORE, it is respectfully requested that the Court enter an order requiring

that the United States produce all of the foregoing, and for such other and further relief

as to the Court might seem just and proper.

        DATED at Denver, Colorado this 24th day of June, 2016

                                   Respectfully submitted,

                            By:     s/ Joseph H. Thibodeau
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                             CERTIFICATE OF SERVICE

       I certify that on this 24th day June, 2016, I electronically filed the foregoing
 MOTION FOR PRODUCTION with the Clerk of the Court using the CM/ECF system
 which will send notification of such filing to any and all counsel of record.

      J. Chris Larson, Esq.
      Assistant United States Attorney
      United States Attorney’s Office
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      Denver, Colorado 80202
      J.Chris.Larson@usdoj.gov


                                                     s/ Joseph H Thibodeau




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